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    1
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    3
        Yury A. Kolesnikov (SBN 271173)
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    8 Counsel for Plaintiff Marc Hagan

    9 [Additional counsel listed on the signature page.]

   10

   11                       UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   12
                                 WESTERN DIVISION
   13
        MARC HAGAN, derivatively on behalf     )     Case No. 2:14-cv-02910 MWF (VBKx)
   14
        of OSI SYSTEMS, INC.,                  )
   15                                          )     Plaintiffs’ Notice of Unopposed
                                     Plaintiff,)     Motion and Unopposed Motion for
   16
                                               )     Consolidation and Appointment of
   17                   vs.                    )     Leadership Structure
                                               )
   18
        DEEPAK CHOPRA, WILLIAM F.              )     Date:      March 2, 2015
   19   BALLHAUS, JR., DAVID FEINBERG, )             Time:      10:00 a.m.
        STEVEN C. GOOD, MEYER LUSKIN, )              Judge:     Hon. Michael W. Fitzgerald
   20
        and AJAY MEHRA,                        )     Courtroom: 1600, 16th Floor
   21                                          )
                                 Defendants,)
   22                                          )
   23                 - and -                  )
                                               )
   24   OSI SYSTEMS, INC., a Delaware          )
   25   corporation,                           )
                                               )
   26                     Nominal Defendant.)
   27 [Caption Continued on Following Page]

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    1
        CITY OF IRVING SUPPLEMENTAL ) Case No. 2:14-cv-09869 MWF (VBKx)
    2 BENEFIT PLAN, derivatively on behalf )
        of OSI SYSTEMS, INC.,                 )
    3
                                              )
    4                               Plaintiff,)
                        vs.                   )
    5
                                              )
    6   DEEPAK CHOPRA, AJAY MEHRA, )
        WILLIAM F. BALLHAUS, DAVID T. )
    7
        FEINBERG, STEVEN C. GOOD, and )
    8   MEYER LUSKIN,                         )
                                              )
    9
                                 Defendants,)
   10                                         )
                      - and -                 )
   11                                         )
   12   OSI SYSTEMS, INC.,                    )
                                              )
   13                     Nominal Defendant.)
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    1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

    2          PLEASE TAKE NOTICE that, under Federal Rule of Civil Procedure 42(a),
    3 Plaintiffs Marc Hagan (“Hagan”) and the City of Irving Supplemental Benefit Plan

    4 (the “City of Irving”) (collectively, “Plaintiffs”) seek consolidation of two related

    5 shareholder derivative actions pending before this Court and appointment of a

    6 leadership structure. Plaintiffs will move this Court, before the Honorable Michael

    7 W. Fitzgerald, in Courtroom 1600, Sixteenth Floor of the United States District

    8 Court, Central District of California, Western Division, located at 312 North Spring

    9 Street, Los Angeles, California, 90012-4701 on March 2, 2015, at 10:00 a.m., for an

   10 order:

   11           consolidating two related shareholder derivative actions filed on behalf of
   12             OSI Systems, Inc.;
   13           appointing Hagan and the City of Irving as Co-Lead Plaintiffs;
   14           appointing Bottini & Bottini, Inc., The Shuman Law Firm, and Scott+Scott,
   15             Attorneys at Law, LLP as Co-Lead Counsel; and
   16           granting such other and further relief as the Court deems just and proper.
   17          The motion is based upon this notice of motion and motion, the accompanying
   18 memorandum of points and authorities, the Declaration of Yury A. Kolesnikov,

   19 together with exhibits, and all other papers and proceedings in this action.

   20          This motion is made following conferences with Anita Wu, Esq., counsel for
   21 nominal defendant OSI Systems, Inc. and the Individual Defendants in this action,

   22 pursuant to Local Rule 7-3, which took place on January 23, 2015, and January 26,

   23 2015. Ms. Wu indicated that Defendants do not oppose the relief requested in this

   24 motion.

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    1 Dated: January 30, 2015               Respectfully submitted,
    2                                       BOTTINI & BOTTINI, INC.
                                            Francis A. Bottini, Jr. (SBN 175783)
    3
                                            Yury A. Kolesnikov (SBN 271173)
    4
                                            _____/s/ Francis A. Bottini, Jr._______
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   15                                                    rusty@shumanlawfirm.com
   16
                                            Counsel for Plaintiff Marc Hagan
   17
        Dated: January 30, 2015             SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
   18
                                            Walter W. Noss (SBN 277580)
   19                                       John T. Jasnoch (SBN 281605)
   20
                                            __________/s/ John T. Jasnoch______
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    1
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    7
                                                               tlaughlin@scott-scott.com
    8
                                                 Counsel for Plaintiff City of Irving Supplemental
    9                                            Benefit Plan
   10

   11                                  Signature Attestation
   12        I certify that I obtained concurrence in the filing of this document from all
   13 parties whose electronic signatures appear above.

   14
                                                     _____/s/ Francis A. Bottini, Jr._____
   15                                                         Francis A. Bottini, Jr.
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